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                      UNITED STATES DISTRICT COURT
            FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.2.2
                                 Eastern Division

UNITED STATES OF AMERICA
                                         Plaintiff,
v.                                                       Case No.: 1:18−cr−00611
                                                         Honorable Ronald A. Guzman
Ji Chaoqun
                                         Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Wednesday, May 29, 2019:


       MINUTE entry before the Honorable Ronald A. Guzman as to Ji Chaoqun:
Government's agreed motion for early return of trial subpoenas [54] is granted. Motion
hearing noticed for 5/30/2019 is stricken and no appearance is required. Mailed notice (is,
)




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
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